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United States District Court

CENTRAL DISTRICT OF UTAH

UNITED STATES OF AMERICA ORDER SETTING
y. CONDITIONS OF RELEASE
Matthew Duhamel Case Number: N-06-79-M

IT IS SO ORDERED that the release of the defendant is subject to the following conditions:

(1) The defendant shall not commit any offense in violation of federal, state or local or tribal law while on
_ release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing of any
change in address and telephone number.

(3) The defendant shall appear at ali proceedings as required and shall surrender for service of any sentence
imposed :

as directed. The defendant shall next appear at (if blank, to be notified)

 

 

 

PLACE
on
DATE AND TIME
Release on Personal Recognizance or Unsecured Bond
IT IS FURTHER ORDERED that the defendant be released provided that:
Ww) 4 The defendant promises to appear at ail proceedings as required and to surrender for service of any

sentence imposed.

() (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

 

dollars (3)

 

 

in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed. .

 

FILED
CLERK, U.S. DISTRICT COURT
March 7, 2006 (10:40am)
DISTRICT OF UTAH

 

 

 

 
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Additional Conditions of Release

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant
and the safety of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the
conditions marked below:

() (4) The defendant is placed in the custody of

(Name of person or organization)

(Address)

(City and state) (Tel.No.)
who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the
appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant
violates any conditions of release or disappears.

Signed:

 

Custodian or Proxy

(} (7) The defendant shall:
(“\(a) maintain or actively seek employment subj ect to PTS (no employment re: photography or videos)
() (b) maintain or commence an educational program.
(W)(c) abide by the following restrictions on his personal associations, place of abode, or travel:
maintain residence as determined by PTS; not to move without PRIOR permission. Travel is limited to
State of residence and state of Utah for purposes of Court appearances - PT'S can give approval for purposes
of visiting parents in different states _

“()\(d)_ avoid all contact with the following named persons: unsupervised contact with individuals under the age of 18;
potential witnesses

(“)(e} report on a regular basis to the supervising officer as directed.

()} (f) comply with the following curfew:

(} (2) refrain from possessing a firearm, destructive device, or other dangerous weapon.

() (h) refrain from excessive use of alcohol. ,

() (i). refrain from any use or unlawful possession of a narcotic drug and other controlled substances defined in 21
U.S.C.§802 unless prescribed by a licensed medical practitioner.

() G) undergo medical or psychiatric treatment and/or remain in an institution, as follows:

() (Kk) execute a bond or an agreement to forfeit upon failing to appear as required, the following sum of money or
designated property

() (2) post with the court the following indicia of ownership of the above-described property, or the following amount or
percentage of the above-described money:

() (m)_ execute a bail bond with solvent sureties in the amount of $
() (n)_ return to custody each (week)day as of o'clock after being released each (week)day as of) o'clock
for employment, schooling or the following limited purpose(s):

(} (o) surrender any passport to

(“}(p) obtain no passport

() (q) the defendant will submit to drug/alcohol testing as directed by the pretrial office. If testing reveals illegal drug use,
the defendant shall participate in drug and/or alcohol abuse treatment, if deemed advisable by supervising officer,

() &) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the
supervising officer.

()(s) 72 hours to take care of listing home and removal of personal property

(W(t) NO internet access - MUST SHUT DOWN WEB SITE WITHIN 24 HOURS OF RELEASE - verified by PTS

 

 
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Advice of Penalties and Sanctions
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both. ,

The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminai
investigation. It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness. victim or informant; or to intimidate or attempt to intimidate a
witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more
serious if they involve a killing or attempted killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted

of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years of more, you shall be
fined not more than $250,000 or imprisoned for not more than 10 years, or both,
(2) an offense punishable by imprisonment for a tem of five years or more, but less than fifteen years, you shall be fined
not more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both.
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in additions to the sentence for any other offense.
In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

1 acknowledge that J am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release , to appear as directed , and to surrender for service of any sentence imposed. I am aware of the penalties and

sanctions set forth above. /
x oak Qian

Signature of Befendant =

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Addiess

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Ayn |

City and State Telephone

Directions to the United States Marshal

   
 
   

(X) The defendant is ORDERED released after processing,
The United States marshal is ORDERED to keep the defendant in custo until Motified by the clerk or judicial officer that the
defendant has posted bond and/or complied with al! other conditions forreleagé. The defendant shall be produced before the
appropriate judicial officer at the time and place specified, if still in custo

Date: | 3 [Zloo

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Magistrate Judge Brooke C. Wells

 

Name and Title of Judicial Officer

 
